






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00652-CR






John Tracy Josey, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 27TH JUDICIAL DISTRICT


NO. 51981, HONORABLE JOE CARROLL, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



John Tracy Josey seeks to appeal from a judgment of conviction for possession of
methamphetamine.  The trial court has certified that this is a plea bargain case and Josey has no right
of appeal, and also that Josey waived his right of appeal.  See Tex. R. App. P. 25.2(a)(2).  The appeal
is dismissed.  See id. rule 25.2(d).



				__________________________________________

				David Puryear, Justice

Before Chief Justice Law, Justices Kidd and Puryear

Dismissed for Want of Jurisdiction

Filed:   December 4, 2003

Do Not Publish


